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                                   UNITED STATES DISTRICT COURT
   7
                                  CENTRAL DISTRICT OF CALIFORNIA
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  10   PIER’ANGELA SPACCIA,                              Case No. 2:20-CV-9310-JVS (LAL)

  11                                   Petitioner,       ORDER ACCEPTING REPORT AND
                                                         RECOMMENDATION OF UNITED
  12                         v.                          STATES MAGISTRATE JUDGE
  13   KATHLEEN ALLISON, Secretary, California

  14   Department of Corrections and Rehabilitation,

  15                                      Respondent.

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  18          Pursuant to 28 U.S.C. § 636, the Court has reviewed the Petition, the Magistrate Judge’s
  19   Report and Recommendation, and the remaining record, and has made a de novo determination.
  20          Accordingly, IT IS ORDERED THAT:
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Case 2:20-cv-09310-JVS-LAL Document 21 Filed 11/17/21 Page 2 of 2 Page ID #:12178




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   2         1.    The Report and Recommendation is approved and accepted;
   3         2.    Judgment be entered denying the Petition and dismissing this action with
   4               prejudice; and
   5         3.    The Clerk serve copies of this Order on the parties.
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       DATED: November 17, 2021          _________________________________________
   9                                           HONORABLE JAMES V. SELNA
  10                                           UNITED STATES DISTRICT JUDGE

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